Case 4:21-cv-00948-ALM-CAN Document 51 Filed 08/26/22 Page 1 of 2 PageID #: 297




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 KEITH V. OTTO                               §
                                             §
        Plaintiff,                           §
 v.                                          § CIVIL ACTION NO. 4:21-CV-00948-ALM-
                                             §                          CAN
                                             §
 COLLIN COLLEGE,                             §
                                             §
                                             §
        Defendant.                           §



            PLAINTIFFS' STIPULATION OF DISMISSAL PURSUANT TO RULE
                                  41(a)(l)(A)(ii)

        COMES NOW Plaintiff Keith Otto, in the above noted and styled matter and files this,

 his Plaintiffs' Unopposed Motion for Dismissal Pursuant To Rule 41(a)(l)(A)(ii).


      1. Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, the parties

         sign this "Stipulation of Dismissal".

                                                 PRAYER

        WHEREFORE, PREMISES CONSIDERED, the parties in this matter hereby file this

 Stipulation of Dismissal.

                                             Respectfully submitted,



  Martin J. Cirkiel                               Kim Moore



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  ATTORNEY FOR PLAINTIFFS                           ATTORNEY FOR DEFENDANT




                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing has been sent
 to the following parties on this the 26th day of August, 2022, in accordance with the Federal Rules
 of Civil Procedure and the Court’s electronic filing system.


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